           Case 2:95-cr-00020-WBS Document 228 Filed 01/10/08 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8

 9               IN THE UNITED STATES DISTRICT COURT FOR THE

10                       EASTERN DISTRICT OF CALIFORNIA

11

12   Juan Ramirez
     JOHN  RAMIREZCampos,
                     CAMPOS,

13                    Plaintiff,             CIV. NO. S-07-2196 EJG
                                             (CR. NO. S-95-0020 EJG)
14              v.
                                             ORDER DENYING RULE 60(b)
15   UNITED STATES OF AMERICA,               MOTION AND DISMISSING
                                             COMPLAINT
16                  Defendant.
     _____________________________/
17

18         Defendant, a federal prisoner proceeding pro se, has filed a

19   civil complaint attacking the judgment in his criminal case as

20   void and seeking to be re-sentenced.       He has chosen Rule 60(b) of

21   the Federal Rules of Civil Procedure as the procedural vehicle to

22   accomplish this act.      For the reasons discussed below, the Rule

23   60(b) motion is DENIED and the civil complaint is DISMISSED.

24   ///

25   ///

26                                       1
          Case 2:95-cr-00020-WBS Document 228 Filed 01/10/08 Page 2 of 3


 1                                 BACKGROUND

 2        Defendant was convicted June 5, 1996, following a jury

 3   trial, of two counts of drug trafficking: one count of conspiracy

 4   to possess methamphetamine with the intent to distribute more

 5   than 1000 grams, and one count of possession of methamphetamine

 6   with the intent to distribute.         In addition, an information was

 7   filed charging defendant with prior felony drug convictions.          As

 8   a result of defendant’s criminal history as well as the quantity

 9   of drugs involved, he was found to be a career criminal.

10   Judgment was entered November 12, 1996, following a hearing, and

11   defendant was sentenced to 360 months imprisonment and 60 months

12   supervised release.    The convictions were affirmed on appeal in

13   September of 1997.    Defendant has filed no post-conviction

14   motions in the eleven years following his conviction.

15                                 DISCUSSION

16        Defendant’s civil complaint, filed October 15, 2007, alleges

17   he was unlawfully adjudicated a career criminal.        His prayer for

18   relief includes a motion to vacate his conviction and a request

19   to be re-sentenced.    The court cannot entertain defendant’s

20   requests in their current form.

21        First of all, a post-conviction attack on a federal criminal

22   conviction which seeks to vacate the conviction must be raised in

23   a section 2255 motion to vacate, set aside or correct sentence.

24   See 28 U.S.C. § 2255.    Second, the federal rules of civil

25   procedure do not apply in criminal cases.        “These rules govern

26                                      2
           Case 2:95-cr-00020-WBS Document 228 Filed 01/10/08 Page 3 of 3


 1   the procedure in the United States district courts in all suits

 2   of a civil nature. . . .”     Fed. R. Civ. P. 1 (emphasis added).

 3   See also, United States v. Mosavi, 138 F.3d 1365, 1366 (11th Cir.

 4   1998); United States v. Andrade-Larrios, 39 F.3d 986, 988 (9th

 5   Cir. 1994).    Since the relief defendant seeks is from his

 6   criminal conviction, his Rule 60(b) motion to vacate is DENIED.

 7         While it may be expedient for the court to construe

 8   defendant’s civil complaint as a section 2255 motion, the law

 9   precludes the court from doing so absent notice to and consent

10   from the defendant.    Castro v. United States, 540 U.S. 375, 382-

11   83 (2003).    Moreover, such a re-characterization could be rife

12   with problems, implicating limitations periods which may affect

13   defendant’s substantial rights.         Therefore, the court declines to

14   re-characterize defendant’s civil complaint and instead DISMISSES

15   it.   Defendant is free, however, to file a motion pursuant to 28

16   U.S.C. § 2255.

17                                  CONCLUSION

18         Defendant’s 60(b) motion for relief from his criminal

19   judgment is DENIED.    Defendant’s civil complaint is DISMISSED.

20         IT IS SO ORDERED.

21   Dated: January 9, 2008

22                                     /s/ Edward J. Garcia
                                       EDWARD J. GARCIA, JUDGE
23                                     UNITED STATES DISTRICT COURT

24

25

26                                       3
